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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )     Chapter 11
                                                                   )
YELLOW CORPORATION, et al.,1                                       )     Case No. 23-11069 (CTG)
                                                                   )
                             Debtors.                              )     (Jointly Administered)
                                                                   )
                                                                   )     Re: Docket No. 391

    CERTIFICATION OF COUNSEL REGARDING DEBTORS’ MOTION FOR ENTRY
       OF AN ORDER (I) AUTHORIZING AND APPROVING PROCEDURES TO
          REJECT EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                   AND (II) GRANTING RELATED RELIEF

         The undersigned hereby certifies that:

         1.       On August 31, 2023, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I) Authorizing and

Approving Procedures to Reject Executory Contracts and Unexpired Leases and (II) Granting

Related Relief (the “Motion”) [Docket No. 391].

         2.       The deadline to respond to the Motion was on September 8, 2023 at 4:00 p.m.

Eastern Time (the “Objection Deadline”).

         3.       The Debtors received informal comments to the Motion from (a) the Office of the

United States Trustee and (b) Edinburgh Logistics and Finlayson Logistics, and filed objections

or reservations of rights from (c) PACCAR [Docket No. 413], (d) East West Bank [Docket No.

430], (e) Valley National Bank [Docket No. 432], and (f) Wintrust Commercial Finance [Docket

No. 527] (the “Responding Parties”).



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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.



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        4.       The Debtors circulated a revised proposal form of order to the Responding Parties

and the following parties: counsel to the Official Committee of Unsecured Creditors, the Junior

DIP Lender, the B-2 Lenders, the ABL Agent, the United States Department of the Treasury, and

the UST Tranche A Agent and UST Tranche B Agent (collectively, with the Responding Parties,

the “Reviewing Parties”).

        5.       Attached hereto as Exhibit A is a revised proposed form of order (the “Revised

Proposed Order”) that has been circulated to the Reviewing Parties, which do not object to entry

of the Revised Proposed Order. Attached hereto as Exhibit B is a redline of the Revised

Proposed Order showing changes against the order filed with the Motion.

        6.       Accordingly, the Debtors respectfully request entry of the Revised Proposed

Order at the Court’s earliest convenience.




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Dated: September 13, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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